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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

BOY SCOUTS OF AMERICA AND                                      Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,
                                                               (Jointly Administered)
                          Debtors.1
                                                               Re Docket No. 695,1387
                                                               Objection Deadline: Extended to 10/9/2020
                                                               for Coalition
                                                               Hearing Date: 10/14/2020 @ 10:00 a.m.


                   JOINDER OF THE COALITION OF ABUSED SCOUTS FOR
                JUSTICE TO THE TORT CLAIMANTS’ COMMITTEE’S MOTION
               TO SUPPLEMENT THE CLAIMS BAR DATE ORDER REGARDING
               THE ELECTRONIC EXECUTION OF ABUSE PROOFS OF CLAIM

          The Coalition of Abused Scouts for Justice (the “Coalition”), by its undersigned counsel,

hereby submits this Joinder of the Coalition of Abused Scouts for Justice to the Tort Claimants’

Committee’s Motion to Supplement the Claims Bar Date Order Regarding the Electronic

Execution of Abuse Proofs of Claims and in furtherance thereof states as follows:

          1.       The logistical barriers to filing proofs of claim for sexual abuse victims should be

as limited as possible. The Coalition joins and supports the Tort Claimants’ Committee’s

Motion to allow for electronic execution of sexual abuse survivor proof of claims.

          2.       In addition, and as specifically provided for in Bankruptcy Rule 3001, the

Coalition has separately filed the Coalition’s Motion for Order Permitting Filing of Proof of

Claim Forms Signed By Authorized Counsel (Docket # 1388). The Coalition believes that these

two Motions are complimentary and reserves all rights as it relates to the Coalition’s Motion for


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    The Debtors in these chapter 11 cases, together with the last four digits of Debtor’s federal tax identification
    number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
    address is 1325 West Walnut Hill Lane, Irving, Texas 75038.


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Order Permitting Filing of Proof of Claim Forms Signed By Authorized Counsel. In addition,

The Coalition notes that the U.S. Trustee supports both Motions. (Docket #1424).

                                         CONCLUSION

         WHEREFORE, the Coalition respectfully requests that the Court enter the order granting

the Tort Claimants’ Committee’s Motion to Supplement the Claims Bar Date Order Regarding

the Electronic Execution of Abuse Proofs of Claims and granting the Coalition such other and

further relief as the Court deems just and proper.

Dated: October 8, 2020                        MONZACK MERSKY
Wilmington, Delaware                          BROWDER AND HOCHMAN, P.A.

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